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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO


 Civil Action No. 25-cv-00203-RTG

 CARL LLOYD SHEELER,

       Plaintiff,

 v.

 U.S. BANK, National Association, as Trustee of Cabana Series V Trust (“Cabana”), and
       as Trustee of VRMTG Asset Trust (“VRMTG”),
 SHELLPOINT, Servicer for the Trusts,
 SECURITY NATIONAL SERVICING NATIONAL CORPORATION (“SNSC”),
 MORTGAGE ELECTRONIC REGISTRATION SYSTEM (“MERS”),
 RELIABLE LENDING SERVICES, LLC (“RELIABLE”), and
 ALPINE BANK, et al.,

       Defendants.


                                    MINUTE ORDER

 ORDER ENTERED BY MAGISTRATE JUDGE RICHARD T. GURLEY

        “Alpine Bank’s Motion for Extension of Time to Respond to Complaint” (ECF No.
 8) is GRANTED because the case is currently under initial review pursuant to
 D.C.COLO.LCivR 8.1(a).

 Dated: February 18, 2025
